Case 1:22-cr-00025-APM Document 68 Filed 03/22/24 Page 1 of 7

CAP,CAT A
USS. District Court
District of Columbia (Washington, DC)
CRIMINAL DOCKET FOR CASE #: 1:22-cr-00025-APM-2
Internal Use Only
Case title: USA v. NIEMELA et al Date Filed: 01/19/2022
Magistrate judge case number: 1:22-mj-00013-GMH
Assigned to: Judge Amit P. Mehta
Defendant (2
STEFANIE NICOLE CHIGUER represented by H. Heather Shaner
also known as LAW OFFICES OF H. HEATHER
STEFANIE CHIGUER SHANER

1702 S Street, NW
Washington, DC 20009

(202) 265-8210

Fax: (202) 332-8057

Email: hhsesq@aol.com
LEAD ATTORNEY
ATTORNEY TO BE NOTICED
Designation: Retained

Pending Counts Disposition

40 U.S.C. 5104(e)(2)(G); VIOLENT
ENTRY AND DISORDERLY CONDUCT
ON CAPITOL GROUNDS; Parading,
Demonstrating, or Picketing in a Capitol
Building

(4)

Highest Offense Level (Opening)

Misdemeanor

Terminated Counts Disposition

18 U.S.C. 1752(a)(1); TEMPORARY
RESIDENCE OF THE PRESIDENT;
Entering and Remaining in a Restricted
Building or Grounds

(1)
18 U.S.C. 1752(a)(2); TEMPORARY

RESIDENCE OF THE PRESIDENT;
Disorderly and Disruptive Conduct in a
Case 1:22-cr-00025-APM Document 68 Filed 03/22/24 Page 2 of 7
Restricted Building or Grounds
(2)
40 U.S.C. 5104(e)(2)(D); VIOLENT
ENTRY AND DISORDERLY CONDUCT

ON CAPITOL GROUNDS; Disorderly
Conduct in a Capitol Building

(3)

Highest Offense Level (Terminated)

Misdemeanor

Complaints Disposition

COMPLAINT in VIOLATION of 18 U.S.C.
§ 1752(a)(1); 18 U.S.C. § 1752(a)(2); 40
U.S.C. § 5104(e)(2)(D); 40 U.S.C. §
5104(e)(2)(G)

Plaintiff

USA represented by Jessica Arco
U.S. DEPARTMENT OF JUSTICE
950 Pennsylvania Avenue NW
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202-532-3867
Email: jessica.arco@usdoj.gov
LEAD ATTORNEY
ATTORNEY TO BE NOTICED
Designation: Assistant U.S. Attorney

Mona Furst

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Designation: Assistant U.S. Attorney

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ATTORNEY TO BE NOTICED
Designation: Assistant U.S. Attorney

Date Filed

Docket Text

01/14/2022

SEALED COMPLAINT as to KIRSTYN NIEMELA (1), STEFANIE NICOLE
CHIGUER (2). (Attachments: # ] Statement of Facts) (zltp) [1:22-mj-00013-
GMH] (Entered: 01/16/2022)

01/14/2022

MOTION to Seal Case by USA as to KIRSTYN NIEMELA, STEFANIE
NICOLE CHIGUER. (Attachments: # 1 Text of Proposed Order)(zltp) [1:22-
mj-00013-GMH] (Entered: 01/16/2022)

01/14/2022

ORDER granting 3 Motion to Seal Case as to KIRSTYN NIEMELA (1),
STEFANIE NICOLE CHIGUER (2). Signed by Magistrate Judge G. Michael
Harvey on 1/14/2022. (zltp) [1:22-mj-00013-GMH] (Entered: 01/16/2022)

01/18/2022

Arrest Warrant, dated 1/14/2022, Returned Executed on 1/18/2022 as to
STEFANIE NICOLE CHIGUER. (bb) [1:22-mj-00013-GMH] (Entered:
01/18/2022)

01/18/2022

Arrest of STEFANIE NICOLE CHIGUER in Massachusetts. (bb) [1:22-mj-
00013-GMH] (Entered: 01/18/2022)

01/18/2022

Case unsealed as to KIRSTYN NIEMELA(1) and STEFANIE NICOLE
CHIGUER(2). (bb) [1:22-mj-00013-GMH] (Entered: 01/18/2022)

01/19/2022

INFORMATION as to KIRSTYN NIEMELA (1) count(s) 1, 2, 3, 4, STEFANIE
NICOLE CHIGUER (2) count(s) 1, 2, 3, 4. (zltp) (Entered: 01/20/2022)

01/20/2022

ORAL MOTION to Appoint Counsel by STEFANIE NICOLE CHIGUER (2).
(zpt) (Entered: 01/21/2022)

01/20/2022

ORAL MOTION for Speedy Trial Waiver by USA as to KIRSTYN NIEMELA
(1) and STEFANIE NICOLE CHIGUER (2). (zpt) (Entered: 01/21/2022)

01/20/2022

Minute Entry for proceedings held before Magistrate Judge G. Michael Harvey:
VTC Initial Appearance/Detention/Arraignment as to KIRSTYN NIEMELA (1)
Count 1,2,3,4 and STEFANIE NICOLE CHIGUER (2) Count 1,2,3,4 held on
1/20/2022. Not Guilty Plea by KIRSTYN NIEMELA (1) and STEFANIE
NICOLE CHIGUER (2) as to all counts. Oral Motion to Appoint Counsel by
KIRSTYN NIEMELA (1) and STEFANIE NICOLE CHIGUER (2) Heard and
Granted. Government does not seek the Defendants' pretrial detention. Oral
Motion by the Government for Speedy Trial Waiver as to KIRSTYN
NIEMELA (1) and STEFANIE NICOLE CHIGUER (2) Heard and Granted.
Time between 1/20/2022 and 1/24/2022 (4 Days) shall be excluded from
calculation under the Speedy Trial Act in the interest of justice X-T. Status
Hearing set for 1/24/2022 at 10:00 AM in Telephonic/VTC before Judge Amit P.
Mehta. Bond Status of Defendant: Defendants Placed on Personal
Recognizance; Court Reporter: FTR Gold FTR Time Frame: CTRM 6 [1:11:38-
1:23:25], [1:46:21-2:07:52]; Defense Attorney: Kira West (1) and Heather
Shaner (2); US Attorney: Frederick Yette for Mona Furst; Pretrial Officer: Shay
Holman; (zpt) (Entered: 01/21/2022)

01/20/2022

MINUTE ORDER as to KIRSTYN NIEMELA (1) and STEFANIE NICOLE
CHIGUER (2). As required by Rule 5(f), the United States is ordered to
produce all exculpatory evidence to the defendant pursuant to Brady v.
Maryland and its progeny. Not doing so in a timely manner may result in

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sanctions, including exclusion of evidence, adverse jury instructions, dismissal
of charges and contempt proceedings. Signed by Magistrate Judge G. Michael
Harvey on 1/20/2022. (zpt) (Entered: 01/21/2022)

01/20/2022

ORDER Setting Conditions of Release as to STEFANIE NICOLE CHIGUER
(2) Personal Recognizance. Signed by Magistrate Judge G. Michael Harvey on
1/20/2022. (Attachments: # 1 Appearance Bond) (zpt) (Entered: 01/21/2022)

01/21/2022

Is

NOTICE OF ATTORNEY APPEARANCE: H. Heather Shaner appearing for
STEFANIE NICOLE CHIGUER (Shaner, H.) (Entered: 01/21/2022)

01/24/2022

MOTION for Bond Modification/RemoveCondion 7(g) by STEFANIE NICOLE
CHIGUER. (Shaner, H.) Modified event type/relief on 1/26/2022 (zltp).
(Entered: 01/24/2022)

01/24/2022

Minute Entry for proceedings held before Judge Amit P. Mehta: Status
Conference as to KIRSTYN NIEMELA (1) and STEFANIE NICOLE
CHIGUER (2) held via videoconference on 1/24/2022. Oral Motion by
STEFANIE NICOLE CHIGUER (2) to Modify Conditions of Release was
heard and granted. Ms. Chiguer may travel to New Hampshire without
providing notice to Pretrial Services. In the interests of justice, and for the
reasons stated on the record, the time from 1/25/2022 through and including
3/23/2022 shall be excluded in computing the date for speedy trial in this case.
Any motions to modify bond conditions due by 1/31/2022. Status Conference
set for 3/23/2022 at 12:45 PM via videoconference before Judge Amit P. Mehta.
Members of the public may access the hearing by dialing the court's toll-free
public access line: (877) 848-7030, access code 321-8747. Bond Status of
Defendants: remain on personal recognizance; Court Reporter: William
Zaremba; Defense Attorneys: Kira West and Heather Shaner; US Attorney:
Mona Furst. (zjd) (Entered: 01/24/2022)

01/26/2022

Unopposed MOTION for Protective Order Governing Discovery by USA as to
STEFANIE NICOLE CHIGUER. (Attachments: # 1 Text of Proposed Order)
(Furst, Mona) (Entered: 01/26/2022)

01/26/2022

Unopposed MOTION for Disclosure of Items Protected by Federal Rule of
Criminal Procedure 6(e) and Sealed Materials by USA as to KIRSTYN
NIEMELA, STEFANIE NICOLE CHIGUER. (Attachments: # 1 Text of
Proposed Order)(Furst, Mona) (Entered: 01/26/2022)

01/26/2022

RESPONSE by USA as to STEFANIE NICOLE CHIGUER re 16 MOTION to
Modify Conditions of Release (Furst, Mona) (Entered: 01/26/2022)

01/27/2022

MINUTE ORDER granting 16 Motion for Bond Modification. The condition
requiring that Defendants stay away from one another and any witness is hereby
withdrawn. Signed by Judge Amit P. Mehta on 01/27/2022. (Icapm3) (Entered:
01/27/2022)

01/27/2022

ORDER granting the United States' 20 Unopposed Motion for Protective Order
as to STEFANIE CHIGUER. See the attached Order for further details. Signed
by Judge Amit P. Mehta on 01/27/2022. (lcapm3) (Entered: 01/27/2022)

01/27/2022

NOTICE of United States' Memoranda Regarding Status of Discovery by USA
as to KIRSTYN NIEMELA, STEFANIE NICOLE CHIGUER (Attachments: #
1 Status of Discovery as of July 12, 2021, #2 Exhibit 1A to July 12, 2021
Status of Discovery, # 3 Status of Discovery as of August 23, 2021, # 4 Status
of Discovery as of September 14, 2021, # 5 Status of Discovery as of October

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21, 2021, # 6 Status of Discovery as of November 5, 2021)(Furst, Mona)
(Entered: 01/27/2022)

02/11/2022

NOTICE of United States' Memorandum Regarding Status of Discovery as of
February 9, 2022 by USA as to KIRSTYN NIEMELA, STEFANIE NICOLE
CHIGUER (Furst, Mona) (Entered: 02/11/2022)

03/30/2022

NOTICE OF HEARING as to STEFANIE NICOLE CHIGUER (2): Plea
Agreement Hearing set for 4/7/2022 at 2:00 PM via videoconference before
Judge Amit P. Mehta. Members of the public may access the hearing by dialing
the court's toll-free public access line: (877) 848-7030, access code 321-8747.
(zjd) (Entered: 03/30/2022)

04/07/2022

Minute Entry for proceedings held before Judge Amit P. Mehta: Plea Agreement
Hearing as to STEFANIE NICOLE CHIGUER (2) held via videoconference on
4/7/2022. Plea of Guilty entered as to Count 4. REFERRAL TO PROBATION
OFFICE for Presentence Investigation as to STEFANIE NICOLE CHIGUER
(2). Sentencing set for 8/10/2022 at 02:00 PM before Judge Amit P. Mehta.
Bond Status of Defendant: remains on personal recognizance; Court Reporter:
William Zaremba; Defense Attorney: Heather Shaner; US Attorney: Mona
Furst. (zjd) (Entered: 04/18/2022)

04/07/2022

PLEA AGREEMENT as to STEFANIE NICOLE CHIGUER (2). (zjd)
(Entered: 04/18/2022)

04/07/2022

STATEMENT OF OFFENSE by USA as to STEFANIE NICOLE CHIGUER
(2). (zjd) (Entered: 04/18/2022)

04/13/2022

MINUTE ORDER entering a schedule for sentencing briefing as to Defendant
Stefanie Nicole Chiguer (2). The final presentence report shall be filed by July
27, 2022; sentencing memoranda shall be filed by August 2, 2022; and any
reply memorandum of no more than five pages shall be filed by August 8, 2022.
Signed by Judge Amit P. Mehta on 04/13/2022. (lcapm3) (Entered: 04/13/2022)

04/13/2022

Set/Reset Deadlines as to STEFANIE NICOLE CHIGUER: Presentence Report
due by 7/27/2022. Sentencing Memorandum due by 8/2/2022. Responses to
Sentencing due by 8/8/2022 (zjch, ) (Entered: 04/15/2022)

05/23/2022

MINUTE ORDER revising the schedule for sentencing briefing as to Defendant
Stefanie Nicole Chiguer (2). The final presentence report shall be filed by
August 5, 2022; sentencing memoranda shall be filed by August 12, 2022; and
any reply memorandum of no more than five pages shall be filed by August 19,
2022. The sentencing will occur on August 26, 2022 at 4:00 p.m. Signed by
Judge Amit P. Mehta on 05/23/2022. (Icapm3) (Entered: 05/23/2022)

07/28/2022

*SEALED* SEALED MOTION FOR LEAVE TO FILE DOCUMENT
UNDER SEAL filed by USA as to STEFANIE NICOLE CHIGUER. (This
document is SEALED and only available to authorized persons.) (Attachments:
# 1 UNOPPOSED MOTION TO CONTINUE SENETNCING HEARING)
(Furst, Mona) (Entered: 07/28/2022)

07/29/2022

*SEALED* MINUTE ORDER as to STEFANIE NICOLE CHIGUER (2)
granting United States' Motion for Leave to File Under Seal, ECF No. 41 , and
Unopposed Motion to Continue Sentencing, ECF No. [41-1]. The sentencing
hearing scheduled for August 26, 2022, is hereby vacated. The parties shall file
a Joint Status Report by December 9, 2022 (under seal, if appropriate), which

proposes a schedule for further proceedings. ae

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I Sier1ec by Judge Amit P. Mehta on

7/29/2022. (zjd) (Entered: 07/29/2022)

07/29/2022

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*SEALED* SEALED MOTION TO CONTINUE SENTENCING HEARING
filed by USA as to STEFANIE NICOLE CHIGUER. (This document is
SEALED and only available to authorized persons.) (Attachments: # 1 Text of
Proposed Order ORDER ON UNOPPOSED MOTION TO CONTINUE
SENTENCING HEARING)(Furst, Mona) (Entered: 07/29/2022)

09/16/2022

BS

NOTICE OF ATTORNEY APPEARANCE Jessica Arco appearing for USA.
(Arco, Jessica) (Entered: 09/16/2022)

09/18/2022

NOTICE OF ATTORNEY APPEARANCE Michael Matthew Gordon
appearing for USA. (Attachments: # 1 Certificate of Service)(Gordon, Michael)
(Entered: 09/18/2022)

11/22/2022

*SEALED* SEALED MOTION FOR LEAVE TO FILE DOCUMENT
UNDER SEAL filed by USA as to STEFANIE NICOLE CHIGUER. (This
document is SEALED and only available to authorized persons.) (Attachments:
# 1 Proposed Sealed Filing)(Arco, Jessica) (Entered: 11/22/2022)

11/23/2022

*SEALED* MINUTE ORDER as to STEFANIE NICOLE CHIGUER granting
United States' Motion for Leave to File Under Seal, ECF No. 45 , and Joint
Motion to Continue Sentencing and Status Report, ECF No. 45-1. The Joint
Motion to Continue shall be accepted for filing under seal for the reasons stated
in the Motion for Leave to File Under Seal. The parties shall file a Joint Status
Report by February 10, 2023 (under seal, if appropriate), which proposes a
schedule for further proceedings.

RE Signed by Judge Amit P. Mehta on 11/23/2022. (zjd)
(Entered: 11/23/2022)

01/19/2023

*SEALED* SEALED MOTION FOR LEAVE TO FILE DOCUMENT
UNDER SEAL filed by USA as to STEFANIE NICOLE CHIGUER. (This
document is SEALED and only available to authorized persons.) (Attachments:
# 1 Consent Motion to Modify Conditions of Release, # 2 Proposed Order)
(Arco, Jessica) (Entered: 01/19/2023)

01/19/2023

*SEALED* MINUTE ORDER as to STEFANIE NICOLE CHIGUER granting
46 United States' Motion for Leave to File Under Seal. Signed by Judge Amit P.
Mehta on 1/19/2023. (zjd) (Entered: 01/19/2023)

01/19/2023

*SEALED* Consent MOTION to Modify Release Conditions filed by USA as
to STEFANIE NICOLE CHIGUER. (zjd) (Entered: 01/19/2023)

01/19/2023

*SEALED* ORDER as to STEFANIE NICOLE CHIGUER granting 47
Consent Motion to Modify Release Conditions. See attached order for full
details. Signed by Judge Amit P. Mehta on 1/19/2023. (zjd) (Entered:
01/19/2023)

01/30/2023

*SEALED* MINUTE ORDER as to STEFANIE NICOLE CHIGUER (2). The
court hereby orders that a presentence investigation report be completed as to
Defendant Stephanie Chiguer. Sentencing shall take place on June 9, 2023, at
10:00 a.m. If Defendant wishes for sentencing to proceed remotely, she shall
file a notice to that effect. See Fed. R. Crim. P. 43(b)(2). The final presentence
report shall be filed by May 26, 2023. Sentencing memoranda shall be filed by
June 2, 2023, and any reply memorandum of not more than five pages by June

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7, 2023. Signed by Judge Amit P. Mehta on 1/30/2023.(zjd) (Entered:
01/30/2023)

02/02/2023

Se 4

*SEALED* SEALED DOCUMENT (Notice of Intent to Appear Remotely) as
to STEFANIE NICOLE CHIGUER (This document is SEALED and only
available to authorized persons.) (Shaner, H.) (Entered: 02/02/2023)

06/02/2023

Se 3

*SEALED* SEALED MOTION FOR LEAVE TO FILE DOCUMENT
UNDER SEAL filed by USA as to STEFANIE NICOLE CHIGUER. (This
document is SEALED and only available to authorized persons.) (Attachments:
# 1 Sentencing Memorandum)(Arco, Jessica) (Entered: 06/02/2023)

06/05/2023

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*SEALED* MINUTE ORDER as to STEFANIE NICOLE CHIGUER (2)
granting 53 SEALED MOTION FOR LEAVE TO FILE DOCUMENT UNDER
SEAL. The Clerk of Court shall file under seal Defendant's Sentencing
Memorandum at ECF No. 53-1. Signed by Judge Amit P. Mehta on 6/5/2023.
(zjd) (Entered: 06/05/2023)

06/06/2023

*SEALED* SEALED MOTION FOR LEAVE TO FILE DOCUMENT
UNDER SEAL as to STEFANIE NICOLE CHIGUER. (This document is
SEALED and only available to authorized persons.) (Attachments: # 1
Memorandum in Support Memorandum in SUpport of Time Served, # 2 Exhibit
Defendant Letter, # 3 Exhibit PTS Compliance)(Shaner, H.) (Entered:
06/06/2023)

06/20/2023

*SEALED* JUDGMENT & COMMITMENT as to STEFANIE NICOLE
CHIGUER (This document is SEALED and only available to authorized
persons.) Signed by Judge Amit P. Mehta on 6/20/2023.(zltp) (Entered:
07/07/2023)

06/20/2023

*SEALED* STATEMENT OF REASONS as to STEFANIE NICOLE
CHIGUER. (This document is SEALED and only available to authorized
persons.) Signed by Judge Amit P. Mehta on 6/20/2023.(zltp) (Entered:
07/07/2023)

06/21/2023

*SEALED* SEALED MOTION FOR LEAVE TO FILE DOCUMENT
UNDER SEAL as to STEFANIE NICOLE CHIGUER. (This document is
SEALED and only available to authorized persons.) (Attachments: # 1 Exhibit
Motion to Temporarily Unseal and Transcribe Sentence)(Shaner, H.) (Entered:
06/21/2023)

06/22/2023

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*SEALED* MINUTE ORDER as to STEFANIE NICOLE CHIGUER (2)
granting Defendant's 56 Motion to File Under Seal and Consent Motion to
Temporarily Unseal a Portion of Sentencing Transcript to Permit Defendant to
Keep and to Share with her Children. The sentencing hearing will be
temporarily unsealed only insofar as is required for the court reporter to
transcribe the Court's final admonition to the Defendant and so that Defendant
can obtain a copy of this portion of the hearing transcript. It shall thereafter be
resealed. Signed by Judge Amit P. Mehta on 06/22/2023. (zjd) (Entered:
06/22/2023)

